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EXHIBIT 4

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From: Steven Callahan

To: Geller, Joshua

Cc: Moss, Aaron; Waldman, Hannah; Steven Callahan
Subject: RE: HomeVestors/WBD - Calise Subpoena

Date: Wednesday, May 15, 2024 3:23:32 PM

In view of your e-mail, Calise will not be producing any e-mails or further documents in
response to WBD’s subpoena.

We believe that what we previously provided to HomeVestors (which we understand has now
been provided to WBD), combined with the discovery that HomeVestors is directly providing
to WBD, is more than sufficient to satisfy any obligations that we have under the subpoena as
a third party.

Thanks, S.C.

From: Geller, Joshua <jgeller@greenbergglusker.com>

Sent: Tuesday, May 14, 2024 2:31 PM

To: Steven Callahan <scallahan@ccrglaw.com>

Cc: Moss, Aaron <amoss@greenbergglusker.com>; Waldman, Hannah
<hwaldman@greenbergglusker.com>

Subject: RE: HomeVestors/WBD - Calise Subpoena

Hi Steven,

Thank you for the call earlier. WBD cannot agree to limit the custodians and exclude Charlie Calise
or Lea Tyner.

HomeVestors disclosed that both Charlie Calise and Lea Tyner have information relevant to this
litigation, namely, information about the “Ugly Houses” trademarks, “including their use, fame, and
goodwill,” and about HomeVestors’ “advertising” under those marks. As you know, this is a
trademark infringement case, and information like that is about as core to the case as any topic can
be.

You asked on our call whether, if HomeVestors removed Mr. Calise from their initial disclosures, that
would avoid the need for your client to collect his documents. It wouldn’t. HomeVestors’ disclosure
indicates that he is likely to have relevant documents. HomeVestors must have had a good faith
basis for making that disclosure. Whether or not HomeVestors changes its disclosures down the
road or chooses to not have Mr. Calise testify does not retroactively mean that he has no relevance
to this case.

We have worked with your client to develop search protocols to minimize the scope of the
subpoena to the greatest extent possible. But the reality here is that Calise’s client, the plaintiff in
our case, brought a frivolous lawsuit against our client directly putting at issue the work Calise has
been doing with HomeVestors over the past decade plus. We cannot artificially limit the scope of
relevant documents based on Mr. Calise’s personal sensitivities to having his emails collected and
reviewed.
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Please confirm by close of business tomorrow if Calise will proceed to collect and search each of the
email custodians that HomeVestors has disclosed as having information relevant to this case. Given
the timing of discovery, and the fact that Calise has not yet performed a collection of custodians
despite our service of the subpoena two months ago, we are running out of time to resolve these
issues without judicial intervention.

Best,
Josh

Joshua Geller

Partner

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jgeller@greenbergglusker.com

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From: Steven Callahan <scallahan a m>

Sent: Monday, May 13, 2024 9:08 AM

To: Geller, Joshua <jgeller@greenbergglusker.com>

Cc: Moss, Aaron <amoss@greenbergglusker.com>; Waldman, Hannah

<hwaldman@greenbergglusker.com>; Steven Callahan <scallahan rglaw.com>
Subject: RE: HomeVestors/WBD - Calise Subpoena

Today is bad, how about 9 a.m. pacific / 11 a.m. central time tomorrow? If that works, I'll
send Zoom invite.

From: Geller, Joshua <jgeller@gr >

Sent: Monday, May 13, 2024 10:24 AM

To: Steven Callahan < rglaw.com>

Cc: Moss, Aaron <amoss@greenbergglusker.com>; Waldman, Hannah
< reenbergglusker.com>

Subject: RE: HomeVestors/WBD - Calise Subpoena
Hi Steven,

Let me know if you have time to speak today. | am flexible other than a 10 am call.
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Best,
Josh

Joshua Geller

Partner

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From: Steven Callahan <scallaha ; >
Sent: Thursday, May 9, 2024 7:56 AM

To: Geller, Joshua <jgeller@greenbergglusker.com>

Cc: Moss, Aaron <amoss@greenbergglusker.com>; Waldman, Hannah
<hwaldman@greenbergglusker.com>; Steven Callahan < han rglaw.com>

Subject: RE: HomeVestors/WBD - Calise Subpoena

3 p.m. Central time today work?

From: Geller, Joshua <jgeller@greenbergglusker.com>
Sent: Tuesday, May 7, 2024 6:09 PM

To: Steven Callahan <scallahan@ccrglaw.com>
Cc: Moss, Aaron <amoss@greenbergglusker.com>; Waldman, Hannah

<hwaldman@egr >
Subject: RE: HomeVestors/WBD - Calise Subpoena
Hi Steven,

Are you free tomorrow before 12 pm PT or after 3 pm PT? Otherwise, how about Thursday?

Best,
Josh

Joshua Geller
Case 1:24-cv-01344-RP Document1-5 Filed 11/04/24 Page5of11

Partner

Biography | vCard
310.201.7460 Direct
jgeller@greenbergglusker.com

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From: Steven Callahan <scallahan@ccrglaw.com>
Sent: Monday, May 6, 2024 7:23 AM

To: Geller, Joshua <jgeller c >
Cc: Moss, Aaron <amoss@greenbergglusker.com>; Waldman, Hannah

<hwaldman@greenbergglusker.com>; Steven Callahan <scallahan@ccrglaw.com>
Subject: RE: HomeVestors/WBD - Calise Subpoena

Thanks, I’ve made progress on this. Happy to give you an update if you are free for a call; just
let me know a good time.

From: Geller, Joshua <jgeller@greenbergglusker.com>
Sent: Wednesday, May 1, 2024 11:01 AM
To: Steven Callahan <scallahan@ccrglaw.com>

Cc: Moss, Aaron <amoss@greenbergglusker.com>; Waldman, Hannah

<hwaldman@greenbergglusker.com>
Subject: RE: HomeVestors/WBD - Calise Subpoena

Hi Steven,

| am pasting below one of the discovery responses referencing Calise witnesses and attaching a copy
of HomeVestors’ initial disclosures. In addition to the four individuals referenced by name in the
below response, HomevVestors has also included Charlie Calise on its initial disclosures. Given that
the Plaintiff has identified all five of these individuals by name as witnesses, we believe it is
necessary to search each of their emails.

INTERROGATORY NO. 1:

DESCRIBE in detail the manner in which YOU select contestants or participants for
YOUR “Ugliest House of the Year” contest, including in YOUR response an
identification of all

persons involved in selecting contestants or participants for YOUR “Ugliest House of
the Year”

contest from January 2018 to the present.

RESPONSE TO INTERROGATORY NO. 1: HomeVestors incorporates its
Preliminary
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Statement and Objections to Definitions and Instructions. HomeVestors objects to this
Interrogatory as overly broad, unduly burdensome, seeking information that is not
relevant to the

claims and defenses in this matter, and disproportional to the needs of the case,
especially in light

of the definition of “Describe in detail.” HomeVestors also objects to this interrogatory
because

the timeframe is unduly burdensome, irrelevant, and disproportional to the needs of the
case.

HomeVestors further objects to this interrogatory because it contains multiple discrete
subparts.

Subject to and without waiving the foregoing, HomeVestors responds that every year,
HomeVestors’ advertising and marketing firm, Imaginuity, solicits entries for
contestants for The

Ugliest House of the Year contest from HomeVestors’ nationwide network of
franchisees.

Imaginuity solicits entries for contestants in multiple ways, including via social media
and email.

Imaginuity then collects entry submissions and coordinates with HomeVestors to select
contestants

from those entry submissions from HomeVestors’ franchisees. The individuals
involved in the

selection of participants from franchisee submissions since 2018 include, but are not
limited to,

Molly Brill (Imaginuity), Ariel Herr (Imaginuity), Allie Nichols (Imaginuity), Lea
Tyner

(Imaginuity), Bonnie DePasse (former General Counsel for HomeVestors), Anthony
Lowenberg

(current General Counsel for HomeVestors), and Megan Hoyt (current Deputy General
Counsel

for HomeVestors).

The parties have entered into the standard Delaware ESI stipulation, which can be found here.
httos://www.ded.uscourts.gov/sites/ded/files/pages/Electronic%20Discovery%20Default%20Standar
d_0O.pdf

We have exchanged names of custodians and search terms but have not reached final agreement on
the scope. That said, and for reference, WBD has initially disclosed 10 email custodians of its own.

Document discovery is to be completed by July 26, 2024, which does not give us much wiggle room
if we’re going to have to bring any motions. All other fact discovery closes October 11.

| look forward to an update after your call with HomeVestors’ counsel today.

Best,
Josh

Joshua Geller
Case 1:24-cv-01344-RP Document1-5 Filed 11/04/24 Page 7of11

Partner

Biography | vCard
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U rgglusker.com

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From: Steven Callahan <sca rglaw.com>
Sent: Tuesday, April 30, 2024 11:57 AM
To: Geller, Joshua <jgeller nbergglusker.com>

Cc: Moss, Aaron <amoss@greenbergglusker.com>; Waldman, Hannah

<hwaldman@greenbergglusker.com>; Steven Callahan <scallahan@ccrglaw.com>
Subject: RE: HomeVestors/WBD - Calise Subpoena

Hi Josh, I’m trying to get my arms around what Calise documents have already been
produced, as those productions went through HV, not me. Once I get that clarity, I can figure
out what is left to gather.

I also need to determine whether 5 e-discovery custodians are necessary. Can you share the
disclosures/interrogatory responses listing the 5 individuals?

Have the parties agreed on a party e-discovery agreement (in terms of number of e-mail
custodians and search terms)? If so, please send that along.

When is the discovery deadline? My vague recollection is that it was a long way off.

I have a call scheduled with HV’s counsel tomorrow and should be able to revert with more
information after that call.

Thanks, S.C,

From: Geller, Joshua <jgeller@greenbergglusker.com>
Sent: Tuesday, April 30, 2024 11:37 AM
To: Steven Callahan <scallahan@ccrglaw.com>

Cc: Moss, Aaron <amoss@greenbergglusker.com>; Waldman, Hannah

<hwaldman@greenbergglusker.com>
Subject: RE: HomeVestors/WBD - Calise Subpoena

Steven,

| did not receive a response to the below. Can you please confirm whether your client is searching
for and will produce responsive documents per the protocols in my April 4 email? If so, please
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provide a date certain by when that will be completed. We are working with tight discovery
deadlines and if we need to seek court intervention (which I’d obviously like to avoid), we'll need to
do that soon.

As we discussed on our call, your client’s client has put Calise/Imaginuity squarely at the center of
this litigation, and we need to get moving on this one way or another. Please advise.

Best,
Josh

Joshua Geller

Partner

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jgeller@greenbergglusker.com

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From: Geller, Joshua
Sent: Monday, April 22, 2024 3:14 PM

To: 'Steven Callahan' <scallahan@ccrglaw.com>
Cc: Moss, Aaron <amoss@greenbergglusker.com>; Waldman, Hannah

<hwaldman@greenbergglusker.com>
Subject: RE: HomeVestors/WBD - Calise Subpoena

Steven,
| am following up on our prior correspondence about the subpoena to Calise Partners/Imaginuity.

We've recently received a document production from HomeVestors that they indicated contained
documents from your client. I’d like to get some clarity on where things stand.

Can you please confirm that your client is searching for and will produce responsive documents per
the protocols indicated in my April 4 email? | note that in the production we received from
HomeVestors, there were almost no emails produced—please advise re the status and timing of the
balance of Calise’s document production. If there are any areas where we do not have agreement or
need to discuss further, please let us know.
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So we don't let this drag out too far, |’d appreciate a response by this Thursday.

Best,
Josh

From: Geller, Joshua

Sent: Friday, April 5, 2024 3:41 PM

To: ‘Steven Callahan' <scallahan@ccrglaw.com>

Cc: Moss, Aaron <amoss@greenbergglusker.com>; Waldman, Hannah
<hwaldman er >

Subject: RE: HomeVestors/WBD - Calise Subpoena

For documents relating to the Ugliest House of the Year contest, some of the documents we would
need go back to the inception of the contest, including full records of its voting and contestants.
Similarly, we wouldn’t want to apply a date limiter to contracts with HomeVestors if, for instance,
the relationship is governed by an old contract. But for general communications about the contest
and the services being rendered for HomeVestors, we would need at least going back to January
2019. Of course continuing to reserve rights, including as to other time periods.

Best,
Josh

From: Steven Callahan <scallahan@ccrglaw.com>
Sent: Thursday, April 4, 2024 9:18 AM

To: Geller, Joshua <jgeller@gr C ker.com>

Cc: Moss, Aaron <amoss@greenbergglusker.com>; Waldman, Hannah

Idman@greenbergglusker.com>; Steven Callahan <scallahan rglaw.com>
Subject: RE: HomeVestors/WBD - Calise Subpoena

We will consider below and revert back with our thoughts. What is your proposed date
restriction? Thanks, S.C.

From: Geller, Joshua <jgeller rggl tL >

Sent: Thursday, April 4, 2024 11:09 AM

To: Steven Callahan <scallahan rglaw.com>

Cc: Moss, Aaron <amoss@greenbergglusker.com>; Waldman, Hannah
<hwaldman@greenbergglusker.com>

Subject: RE: HomeVestors/WBD - Calise Subpoena
Hi Steven,

Thank you for the call last week. As discussed, and without prejudice to any of WBD’s rights in
connection with the subpoena to Calise, | am providing a summary of the documents we are most
interested in and a proposed protocol to search for and collect them. We reserve the right to seek
all documents called for by the subpoena.
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First, the custodians that have been identified in HomeVestors’ interrogatory responses and initial
disclosures are: Charlie Calise, Molly Brill, Ariel Herr, Allie Nichols, and Lea Tyner. We'd want each of
their emails searched, as well as any non-custodial repositories of documents (e.g., a shared drive
with documents).

Second, here are the categories of documents that are our highest priority:

1. Copies of Calise’s contracts with HomeVestors

2. Records of payments HomeVestors made to Calise

3. Documents and emails referring to “Ugliest House of the Year,” the contest that Calise put on
for HomeVestors. This would include documents relating to the conception of the contest,
the soliciting of entrants, voting for winners, efforts to market and promote the contest,
media mentions referencing the contest, among other things.

4. Communications with “Big Fish” — these would most likely have taken place around summer
of 2020.

5. Internal communications and communications with HomeVestors about “Big Fish,” or the
television program “Ugliest House In America”

6. Any marketing plans or strategy developed for HomeVestors. For example, a one-sheet or a
pitch deck laying out plans for how Calise markets HomeVestors.

7. Documents referencing this litigation

Third, | believe the search terms to find that universe of documents would likely be: “HomeVestors,”
“Ugliest House,” “Big Fish,” and “HGTV.” That's not to say that every document hitting on one of
those terms is necessarily responsive; rather, | believe searching those terms across the above
custodians should yield a review set appropriate for locating the above categories.

Please let me know if Calise is prepared to proceed along these lines.

Best,
Josh

Joshua Geller
Partner

Biography | vCard
310.201.7460 Direct
l reenber r.com

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From: Steven Callahan <scallahan@ccrglaw.com>
Sent: Tuesday, March 26, 2024 4:00 PM

To: Geller, Joshua <jgeller een | r.com
Cc: Moss, Aaron <amoss@greenbergglusker.com>; Waldman, Hannah

<hwaldman@greenbergglusker.com>; Steven Callahan <scallahan@ccrglaw.com>
Subject: RE: HomeVestors/WBD - Calise Subpoena

Thurs is OK; will send calendar invite, thx.

From: Geller, Joshua <jgeller@greenbergglusker.com>

Sent: Tuesday, March 26, 2024 5:57 PM

To: Steven Callahan <scallahan@ccrglaw.com>

Cc: Moss, Aaron <amoss@greenbergglusker.com>; Waldman, Hannah
<hwaldman@greenbergglusker.com>

Subject: HomeVestors/WBD - Calise Subpoena

Counsel,

We are in receipt of the objections and responses served by Calise Partners in response to WBD’s
subpoena. Please let me know your availability for a conference to discuss further. We are available
Wednesday after 2 pm PT, Thursday between 9 am and 10 am PT, or anytime Friday.

Best,
Josh

Joshua Geller
Partner

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310.201.7460 Direct
igeller@greenbergglusker.com

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